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                UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                      EL PASO DWISION




          DALIA VALENCIA,                   I


          a/ka DAJJA VELASCO
               DALIA KRANTZ                 I


          DALIA KRATZ VALENCIA              I     Case No. 3:15-CR-00228-DB
                     Petitioner,


             Vs.

                                            I

          UNITED STATES OF AMERICA,         I


                    Respondent,




MOTION SEEKING MODIFICATION OF SENTENCE UNDER TiTLE 18
U.S.C., SECTION 3582 AND APPARENT EXTRAORDINARY DANGEROUS
NATURE OF THE COVm-19 OUTBREAK AMONG FEDERAL PRISON
POPULATION.
Dalia Valencia, (hereinafter Ms. Valencia) hereby acting Pro se, seeking a
modification of her current term of imprisonment. Ms. Valencia seeks that the
Warden at FMC Carswell, be compelled to release her on home confinement under
the CARES Act Confinement Provision. Alternatively, that her physical custody be
transferred to her probation portion custody. As to reasons why this request should
be GRANTED, Ms. Valencia relies upon the following in support of her request for
relief:
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1.    On about October 28, 2015, Dalia Valencia was charged in a Fourth
     Superseding Indictment in the above-styled number cause. Ms. Valencia later
     agreed to enter a plea of guilty. The Court recognized and accepted Ms.
     Valencia's plea agreement and called for a sentence of 180-months.
     Ms. Valencia has served a substantial portion of her sentence (5-years). Ms.
     Valencia is now serving her sentence at the Federal Medical Facility (Carswell)
     atJ ST BLDG 3000, Fort Worth, TX. 76127.

     Ms. Valencia presents that she is in danger of exposure to the COVID-19 at
     Carswell Federal Medical Center where she is currently confined. The
     Bureau's coronavirus tracker shows at least two inmates have tested positive at
     the FMC Carswell. Ms. Valencia shares housing with 250 women in her
     housing unit. They sleep four to a cell and less than three feet apart. All
     inmates are expected to wear the same disposable mask every day. The
     phones are in pretty heavy use un-sanitized. Several women have been
     removed to an isolation wing because they are suspected of having COVTD-
     19.

     While the Bureau of Prisons has instituted measures to prevent the spread of
     coronavirus inside the prisons, the conditions at FMC Carswell make the
     spread of infectious diseases all but inevitable.


2. Ms. Valencia also presents that the omission of mitigating factors during her
     sentencing respecting her sexual assault by an El Paso County Jail guard
     during pretrial proceedings deprived her from obtaining a less harsh sentence.


3. Ms. Valencia also presents that her rehabilitation and good behavior during
     her incarceration make her suitable candidate for an amended sentence in the
     form of transferring physical custody to special probation now under
     extraordinary circumstances.


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Ms. Valencia does not dispute her guilt in this matter as she voluntarily entered her
plea agreement and accepted full responsibility. Ms. Valencia however accepted her
responsibility in pursuing a fair less harsh sentence. Ms, Valencia now suggests that,
amending her sentence could effectively reduce the severity of her punishment by
transferring the remaining of her 1 80-month of physical custodial portion to the
probation custody term of the same. Ms. Valencia presents that reducing custody
sentence and increasing special probation sentence is permissible, because
transferring her sentence to probation is a single indivisible sentence and not
separate. In fairness, such amendment can only be characterized as making Ms.
Valencja's sentence less severe. Ms. Valencia is to remain under the custody and
jurisdiction of the Attorney General through probation custody, also she will be
subject to immediate incarceration if she violates any of the special terms.

  The oniy change in the sentence that Ms. Valencia moves to amend,      is    that portion
of corporal custody from physical incarceration, to special probation which will
constitute indisputably to a less severe punishment.



             I.       PROCEDURAL HISTORY
  On or about October 28, 2015, Dalia Valencia was charged in a Fourth
Superseding Indictment in the above-styled numbered causes. Ms. Valencia later
agreed to enter a plea of guilty in case number EP-15-CR-228, to one count of
conspiracy to conduct the affairs of an enterprise through a pattern of racketeering
activity. see attachment 1. Ms. Valencia further agreed to plead guilty to one count

information charging Ms. Valencia with theft of public money. In exchange the
government agreed to move for dismissal of the remaining counts of the Fourth

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Superseding Indictment in cause number EP-15-CR-228. The government further
agreed to move for dismissal of the First Superseding Indictment and the original
indictment in EP-15-CR-1646 that had also been pending against Ms. Valencia.

       In addition, Ms. Valencia was required to plead to a notice of special sentencing
factors relevant to the Fourth Superseding Indictment. Specifically, Ms. Valencia
agreed she conspired to possess a controlled substance, which involved 1,000
kilograms or more of marijuana with intent to distribute. In addition to that, the plea
agreement between Ms. Valencia and the government contained an 11(c) (1)(C)
agreement recommending that Ms. Valencia not be sentenced to a term greater than
180 months (15 years). The government further agreed to move for dismissal of the
indictment pending against Josefine Gurrola in EP-16-CR-342, and to make a
recommendation of a binding recommendation as to Josefine Gurrola, that the
sentence be time-served. Also, in exchange, the government agreed it would not
prosecute Jesus Valencia, son of Ms. Valencia, for his actions involving the
concealment of Monica Velasco on or aboutJanuary 25th, 2016, through February
5th,
       2016.

 At sentencing--under RICO, Group One and Group Two, Ms. Valencia was
found to be a 38, plus 2 for active participant and money laundering with 3 levels,
which gave a total calculation of 43. From there, there was 2 points added for the
multiple count adjustment and 3 taken away for acceptance of responsibility which
made the total offense level 42 and required a sentence of 360 months to life
imprisonment. However, the Court recognized, and accepted Ms. Valencias plea
agreement called for a sentence of not more than 180 months on the Rico charge.
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                          II.         JURISDICTION

Section 3582 provides:

 (a)   the court, in determining whether to impose a term of imprisonment, and, if a
       term of imprisonment is to be imposed, in determining the length of the term,
       shall consider the factors set forth in section 3553(a) to the extent that they are
       applicable, recognizing that imprisonment is not an appropriate means of
       promoting correction and rehabilitation. In determining whether to make a
       recommendation concerning the type of prison facility appropriate for the
       defendant, the Court shall consider any pertinent policy statements issued by
       the Sentencing Commission pursuant to 28 U.S.C., Section 994(a) (2).
 (b) Notwithstanding,        the fact that a sentence to imprisonment can subsequently be-


       (1)    modified pursuant to the provisions of subsection (c);
       (2)    corrected pursuant to the provisions of rule 35 of the Federal Rules of
       Criminal Procedure and Section 3742 or;


        (3)   appealed and modified, if outside the guideline range, pursuant to the
       provisions of section 3742;


       ajudgement of conviction that includes such a sentence constitutes a final
       judgement for all other purposes.


(c)    The court may not modify a term of imprisonment once it has been imposed
       except that-


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          (1) in any   case (A) the court, upon motion of the Director of the Bureau of
             Prisons, may reduce the term of imprisonment (and may impose a term of
             probation or supervised release with or without conditions that does not
             exceed the unserved portion of the original term of imprisonment) after
             considering the factors se forth in section 3553(a) to the extent they are
             applicable, if it finds   that
 (i)    extraordinary and compelling reasons warrant such reduction;

 (ii)   the defendant is at least 70 years of age, has served at least 30 years in prison,
pursuant to the sentence imposed under section 3559(c), for the offense or offenses
for which the defendant is currently imprisoned, and a determination has been made
by the Director of the Bureau of Prisons that the defendant is not a danger to the
safety of any person or the community, as provided under section 3 142(g);

(B) the    court may modify an imposed term of imprisonment to the extent otherwise
expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal
Procedure and;



(2) in the case.   of a defendant who has been sentenced to a term of imprisonment
based on a sentencing range that has subsequently been lowered by the Sentencing
Commission pursuant to 994(o), upon motion of the defendant or Director of the
Bureau of Prisons, or on its own motion, the court may reduce the term of
imprisonment after considering the factors set forth in section 3553(a) to the extent
that they are applicable, if such reduction is applicable with policy statements issued
by the Sentencing Commission.

(d) The court, in imposing a sentence to a term of imprisonment upon a defendant
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convicted of a felony set forth in chapter 95 (racketeering) or 96 (Racketeering
Influenced Corrupt Organizations) of this Title or in the Comprehensive Drug
Abuse Prevention and Control Act of 1970, or anytime thereafter upon motion by
the Director of the Bureau of Prisons or a United States Attorney, may include part
of the sentence an order requires that the defendant not associate or communicate
with a specified person, other that his attorney, upon showing of probable cause to
believe that association or communication with such person for the purpose of
enabling the defendant to control, manage, direct, finance, or otherwise participate
in an illegal enterprise



                III.       COVID   -19 EXPOSURE
 Additionally, Ms. Valencia presents that she is exposed to imminent risk of
contracting COVID-19 at her place of confinement due the outbreak among federal
prison population, and where there has been announced that CARSWELL
FEDERAL MEDICAL CENTER at least two cases have contracted COVID-19. At
least one inmate has disease.

 Federal Medical Facility Carswell is a prison with more than 1,600 woman who
have special medical and mental health needs. There are 250 women in each
housing unit.

 Conditions at Carswell FMC is critical   - four inmates sleep in dorm-style barracks and
less than three feet apart, share showers and communal bars of soap, limited toilet
paper and limited hand soap   - run afoul of the prisoners! Eighth Amendment
protection from cruel and unusual punishment.

Attorney General William Barr issued a Memo to the Bureau of Prisons, directing the

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BOP to expedite its use of home confinement, giving highest priority to medically
vulnerable prisoners at hard-hit Oakdale, a low-security facility nearly 200 miles from
New Orleans. The Federal Bureau of Prisons has 177,000 inmates under its care. In
the past week, seven have died from COVID-19 and the BOP is reporting 91 inmates
tested positive along with 50 staff members. It is believed that those numbers understate
the real figures arid that hundreds more inmates arid staff are infected. See. Alt Gen.
Memo.

New figures also showed more than 50 inmates have tested positive at FCC Burner, a
federal prison complex in North Carolina, up from    11   reported inmate cases the day
before.

Federal prisons in Connecticut arid Ohio also have been stricken with outbreaks in
recent weeks. As of Monday, 196 inmates and 63 staff members had tested positive for
coronavirus at federal prisons across the U.S., according to data from the BOP.

The Lompoc Federal Penitentiary has the highest number of cases among
prisons nationwide with 67 inmates confirmed positive, according to data
Tuesday from Santa Barbara County and the Bureau of Prisons.

The outbreak at the Lompoc prison was first announced by the county last
week and includes 24 prison employees in addition to inmates, public health
officials announced.

The unprecedented and extraordinarily dangerous nature of the COVID-
19 pandemic has become apparent. Although there is         not yet a known outbreak
among the jail and prison populations, inmates may be at a heightened risk of
contracting COVID-19 should an outbreak develop.          See,   e.g:,   Joseph A.
Bick, Infection Control in Jails and Fri ons, 45 Clinical Infectious Diseases 1047,
1047 (Oct. 2007), https://doi.org/10.1086/521910 (noting that in jails "[tihe
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probability of transmission of potentially pathogenic organisms is increased by
crowding, delays in medical evaluation and treatment, rationed access to soap, water,
and clean laundry, [andj insufficient infection-control expertise'); see also Claudia
Lauer & Colleen Long, US Fri ons, Jails On Alert for Spread of Corona virus,
Associated Press (Mar. 7, 2020). The magnitude of this risk has grown exponentially
since the announcement of the first federal prison case of COVID-19 in the United
States.

Though the BOP has admirably put transmission mitigation measures in
place, see Federal Bureau of Prisons, Federal Bureau ofPri9ons C'OVID-l9Action
Plan, https://www.bop.gov/resources/news/20200313_covid-19.jsp, in the event of an
outbreak at the CARSWELL FEDERAL MEDICAL CENTER (where Ms.
Valencia is currently imprisoned), substantial medical and security challenges would
almost certainly arise. A comprehensive view of the danger Ms. Valencia poses to
the community requires considering all factorsincluding this       oneon a case-by-case
basis. See, e.g., United Stites   v.   Rathan, No. 20-cr-68 (BMC) (JO), Dkt. No. 20 at
10:12-19 (E.D.N.Y. Mar. 12, 2020) (deciding to continue a criminal defendant on
pretrial release rather than order him remanded to the Metropolitan Detention
Center due, in part, to the Magistrate Judge's recognition of the fact that "It] he more
people we crowd into that facility, the more we're increasing the risk to the
community").

 Ms. Valencia's proposal is that her sentence be amended from 180-months
corporal custodial of which she has served more than 5-years, to be placed on home
confinement under the CARES Act, and/or probation custodial for the rest of her
remaining sentence. Ms. Valencia suggests that, amending her sentence could
effectively reduce the severity of her punishment by transferring the remaining of her
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180-month of the custodial portion to the probation term of it. Ms. Valencia presents
that reducing custody sentence and increasing special probation sentence is
permissible, because a reduction in sentence to probation is a single indivisible
sentence and not separate. See United States v. Thompson, 979 F.2d 743; 1992 U.S.
App. LEXIS 29007 (9th Cir. 1992)( In Thompson, the court held that pursuant to
Rule 35, the court could amend (5) five years of imprisonment and (5) years of
special parole, to (2) two years imprisonment and (8) eight years special parole, this
to mitigate the punishment, because the sentence was a single indivisible sentence
and not separate).

Specifically, Ms. Valencia will not be exposed to COVID-19 and Ms. Valencia
would remain under the jurisdiction of the Attorney general and probation for a
period of whatever term of probation this court determines to be suitable, but the
custodial portion of her sentence could be amended to "any term of probation"
representing the 180-months physical custody.

  Ms. Valencia presents extraordinary and compelling reason for amending her
sentence arid for release on probation or home confinement, such release is
consistent with the existing extraordinary circumstances. In so concluding, this Court
is grievously   aware of the current global health crisis caused by COVID-19. The
President has declared a National Emergency due to the spread of the novel
coronaviru.s and states and localities across the nation have implemented measures
to stymie its rapid spread. And while the Court is aware of the measures taken by the
Federal Bureau of Prisons, news reports of the virus's spread in detention centers
within the United States and beyond our borders in China and Iran demonstrate that
individuals housed within our prison systems nonetheless remain particularly
vulnerable to infection.   See,   e.g.,   Danielle Ivory, "We Are Not a HospitaJ' A   Pricon


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Bracesforthe Corona virus,N .Y.Times (March 17,2020), https ://www.nytimes.com/202
0/03/1 7/us/coronavirus-prisons-jails .html (citing densely populated living conditions,
dearth of soap, hand sanitizer, and protective gear, and impossibility of maintaining
safe distance between inmates because prisoners are at particular risk of infection).
The viruss spread at the Cook County jail in Chicago provides an alarming example:
in a single week, the county jail went from two diagnoses to 101 inmates and a dozen
employees testing positive for the virus. See Timothy Williams et al., As
Corona virus Spreads Behind Bars, Should Inmates Get Out?, N.Y. Times (March
30, 2020), https://www.nytimes .com/2020/03/30/us/coronavirus-prisons-jails .html.

Indeed, news reports indicate that the virus has already begun infiltrating federal
prisons; in one prison in Louisiana, an inmate died after testing positive for the virus
and at least 30 other inmates and staff have tested positive. See Kimberly Kindy, An
Explosion of Corona virus Cases Criples a Federal Pthon in Loui,thna, Wash. Post
(March 29, 2020), https://www.washingtonpost.co rn/national/an-explosion-of-
coronavirus-cases-cripples-a-federal-prison-in-louisiana/2020/03/29/75a465c0-7 1 d5-
1   lea-85cb86705796863d_story.html (hereinafter, An Explosion          of Coronavirus
Cases).   To date, at least two inmate and one   staff   member have tested positive for
the virus in FMC CARSWELL, where Ms. Valencia is housed. See COVID-19,
Fed. Bureau of Prisons (March 29, 2020), htps://wv.bop.gov/coronavirus/.



Dalia Valencia is exposed to COVTD-19 and has demonstrated extraordinary and
compelling reason for release on home confinement under extraordinary
circumstances. Mr. Valencia prays that this honorable court compel the warden at
Carswell Federal Medical Center to release her under specific conditions.




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III MITIGATING FACTORS NOT ACCOUNTED DURING SENTENCING


The Eighth Amendment.
 Up on Ms. Valencia's arrest on September of 2015, Ms. Valencia endured
extremely harsh punishment that was not exposed during her sentencing and that
under the protective shadow of the Eighth Amendment could have changed the
outcome of the proceedings and could have resulting in a lesser sentence up on
review froiii this court.
 Ms. Valencia urges that a 180-month sentence not only over represents the
punishment applicable under the circumstances but is excessive. Ms. Valencia does
not deserve such a harsh punishment considering that not only she was mentally
tortured during pre-trial proceedings when maintained in solitary confinement for
over Two (2)-years but she experienced treatment that is solely performed to those
committing the worse crimes against the United States.

  The level of punishment against Ms. Valencia, was caused accordingly, because of
the concealment of her sister Ms. Monica Velasco, because she refused to assist the
government in locating her. It was simply unreasonable to assume that under the
circumstances of her incarceration and isolation she could provide the government
any information in this respect. Ms. Valencia encountered with U.S. Marshals in
multiple occasions, the subject matter of every encounter was officers wanting
information about her sister. Then threats about bringing charges against her son
Jesus Valericia and her mother Josefina Gurrola for their actions involving the
concealment of Ms. Monica Velasco.

  During the more than Two (2)-years in solitary confinement she was sexually
molested and abused additionally, mentally tortured and abused. Her isolation was

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no way related to any disciplinary infraction or based on punitive justification; the
existence of substantial evidence exhibits that on January of 2016, she was sexually
abused by an El Paso County jail guard who entered a restroom Ms. Valencia was
using during her rec time; She was threatened by the guard and also from the same
investigation team should she report said despicable action. Not only the existence of
video footage exists and support this horrible incident, but the facts were
immediately reported by other inmates. The video of the incident confirmed fellow
inmate's concerns, also Ms. Valencia admitted that she had been attacked when
questioned, despite her desperate fear of the guard and investigation team and
possible reprisals. See. Affidavit of Dalia Valencia. Attachment A.

 Despite Ms. Valencia's outcry and prayers for mercy, her suffering was insufficient
and simply ignored by the people in charge of rendering her the protection against
arbitrariness. Here, the government without a doubt was more concerned about
putting excessive pressure against Ms. Valencia so she assisted in the capturing of her
sister, even if this meant violating all rights under the cornerstone protective shadows
of the Eighth Amendment.

  Mental Health Progress Report was conducted on October 7, 2016, by Medical
Staff at Otero County Prison Facility. As Subjective Data revealed that Ms. Valericia
reported she was mentally unstable having nightmares consequence of her previous
sexual assault, also she presented a level of worry about her sentencing coming up
on December of 2016, she was feeling sad, confused, anxious. See. Medical Report.
Exhibit B.

 Although per policy, she was immediately moved to the Otero Private facility in
New Mexico, where she was also placed in solitary confinement, regrettably, the
Otero facility under higher command kept her isolated. Ms. Valencia was treated

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worse than those committing the worse crimes in the United States. Despite the fact
that Otero Private Facility is not set up with special housing for females, Ms.
Valencia was kept in a medical unit isolated, with folder or paper over her door with
the lights on twenty-four hours a day, restricted from all communication to the
exterior or with other fellow inmates.

 Substantial evidence reveals Ms. Valencia's out cry. The Clinical Department at the
Otero County Prison Facility Records confirm that she was evaluated in multiple
occasions, and that during every single encounter with medical staff at the Otero
Clinical Department she mentioned that she was suffering collateral mental
breakdown consequence from her previous sexual assault.

  The Otero Clinical Department at rio time issued or recommended any sort of
mental treatment, therapy or psychological evaluation, the typical evaluation made to
those victims of sexual assault.

  Ms. Valencia's prolonged detention in solitary confinement caused her to become
ill, mentally   and physically. Medical records confirm that she presented discoloration
of portions of her skin and body and face, as well as she presented difficulty
breathing.

 Accordingly, Ms. Valencia was originally placed in Solitary, or Special Housing
because of concerns for potential witnesses in her brother's cases. Very contradicting
was the fact that at that time there was no remaining trials in Ms. Valencia's case.

Government's arbitraries where solely caused by her supposed refusal to reveal to
the government information in locating her sister (Mr. Monica Velasco, a 43-year
old former teacher wanted for money laundering and racketeering and drug
conspiracy in Ms. Valencia's brother's case charges related to the Velasco family

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crime group.).



          VI.       STATEMENT OF RELEVANT FACTS

At sentencing, Ms. Valencia accepted responsibility but stated that she was currently
before the Court because of things her brothers Samuel and Emmanuel Velasco had
done. Id. Ms. Valencia further agreed that "she would be willing to provide truthful
information and cooperate with the government--although ultimately Ms. Valencia
was not called upon to do so. Counsel, Clay Hernandez, although he noted

objections to the Presentence Report during sentencing, did not however seek a two-
point role-reduction as would apply to Ms. Valencia under U.S.S.G., Section's 5C1 .2
and 3553(a).

   In the present case, no later than the time of sentencing hearing, Ms. Valencia
agreed to provide truthfully to the government all information and evidence she
possessed concerning the offense and offenses that were part of the same course of
conduct or of a common scheme or plan, and the fact that Ms. Valencia had no
relevant or useful information shall not preclude a determination by the Court that
she has complied with the requirements under SC 1.2(a). A defendant bears the
burden of establishing the he/she   is entitled to   an adjustment and Ms. Valencia has
herein done so.

                           SUMMARY OF FACTS

     Here, Dalia Valencia, who has been convicted of a crime for the first time in
     her life and has endured extraordinary suffering during her incarceration, seeks
     a downward departure under the safety-valve exception and Title 18 U.S.C.,
     Section 3.553 (a) based upon (1) a role-reduction, based upon her role in the
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        charged criminal conduct which was not of a violent nature; (2) her acceptance
        of responsibility; and   (3)   her agreement to provide co-operation through
        truthful information and assistance to the government.


          Ms. Valencia principally aided her siblings and while guilty of love and
        misplaced loyalty maintains that she did not intend the ultimate results of these
        crimes be committed. Her remorse for the crimes committed and the
        circumstances surrounding her involvement in these crimes cries out to the
        Court in support of a downward departure and reduction of her offense level in
        this matter.


        However, Ms. Valencia although represents a perfect candidate for Safety Valve
        reduction in her sentence, moves only for the permissible amendment of her
       physical custody to be placed on probation for the rest of her remaining
       sentence. A permissible practice since this will not constitute a reduction od
       sentence, but an adjustment of sentence to a less harsh punishment.




       VI    ADDITIONAL FACTORS FOR AMENDING MS. VALENCIAS'
             SENTENCE THAT SHOULD BE CONSIDERED


  A).   CRIMINAL HISTORY: Ms. Valencia had a clean criminal record in the
United States and in Mexico prior to her arrest and conviction.


 B).        COMMENTS FROM VICTIMS: Unknoi                    / Non-Applicable

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  C).   UNRESOLVED DETAINERS: None "unresolved detainers". Mr.
Valencia prior to her incarceration in the present case exhibits an impeccable
record, she is without the minimum infraction.


  D).      SUPERVISED RELEASE VIOLATIONS: None / Non-Applicable.


  E). INSTITUTIONAL ADJUSTMENT: Ms. Valencia has maintained herself
completely free of disciplinary reports during the over 5 years of her incarceration.
In additioii to clear conduct, she has an excellent prison work record; Presently
works for the Recreation Department as a fitness instructor at the Carswell Federal
Medical Center. Ms. Valencia has completed numerous programs and courses, and;
she has a very favorable disposition with staff. She is very respectful; do not cause
trouble and follow regulations and orders with no quarrels;


   F).     DISCIPLINARY INFRACTIONS: None;


   G). PERSONAL HISTORY DERWED FROM PSI REPORT: Ms.
Valencia is a U.S. Citizen and a first offender; She lived in the United States; She
paid taxes; She has no history of drug or alcohol abuse and a very long history of
employment prior to her incarceration and during her incarceration; No history of
domestic violence or abuse; She was married with three children prior to her arrest;
she provided fmancial support for her children prior to her incarceration, and; She
has maintained excellent family ties throughout her many years of imprisonment.


 H). FAMILY TIES AND SUPPORT:
  Ms. Valencia is the mother of three children who are eager to support her up on
release from incarceration.
   1. Jesus Valencia:   Born on August 28, 2001. Jesus Valencia is Ms. Valencia's
         oldest son and has maintained excellent relationship with his mother during


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2. the 5-years of her incarceration. Jesus Valencia is an excellent student,



3. positive, of good character. Jesus Valencia at this particular time attends
   medical school, his goal is to make Ms. Valencia proud and make a difference
   in the United States. He expresses that he desires to become a brilliant doctor
   in this country. Jesus Valencia is eager to extend moral and economic
   support to his mother up on her release. See. Letter From Jesus Valencia
   Attachment C.


4. Valeria Valencia: Born on October 31, 2001. Valeria Valencia has also
   maintained excellent relationship with her mother during her 5-years of
   incarceration. Valeria Valencia is also an excellent student, positive, of good
   character. Valeria Valencia is a High School student, with excellent grades,
   desires to pursue a career as an occupational therapist as she goes off to
   college. Her relationship with Ms. Valencia can only be described as the best.
   She misses her mother and is eager to incorporate her to her present life. See.
   Letter From Valeria Valencia. Attachment D.

5. Jeffrey Tyler: Born on December 30, 2011. Jeffrey Tyler Krantz is the
   youngest of Ms. Valencia's children. Jeffrey has suffered the most based on
   his mother's absence. At his limited age has endured not having his mother
   present during the most critical stages of his life. Now in the custody of his
   father Mr. Jeffrey Scott Krantz. Jeifry misses his mother and has suffered the
   most being that there is no answer to the many questions asked by him during
   the past 5-years of Ms. Valencia's absence. His dream is to have his mother
   home as soon as possible. Little Jeffry is the best under the circumstances,
   excellent student achieved Honor Roll as a current 2 grade student.

6. Jeffrey Scott Krantz.: Mr. Krantz was legally married to Dalia Valencia.
   Together procreated little Jeffrey Tyler Krantz who is now under his care. Mr.
   Krantz is currently a West Texas Radiologist, P.A. Mr. Krantz currently
   maintains steady employment. Mr. Krantz resides at 740 Draco PL, El Paso
   TX. 79907. Mr. Krantz has maintained the best of communication and
   relationship with Ms. Valencia. Mr. Krantz offers that he is willing to provide
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            housing arid sustain her economically upon Mr. Valencia's release. Mr.
            Krantz is of an impeccable moral character and is capable and willing to
            provide Mr. Valencia the essential needs upon her release from custody. See.
            Letier From Jeffrey Scott Krantz. Attachment E.



   I). LENGTH OF SENTENCE AND AMOUNT OF TIME SERVED: Ms.
Valencia received a 180-months sentence in 2015, under the De Facto laws no
parole eligibility. Because the law in effect in 2015 mandates no parole eligibility,
Ms. Valencia is to remain in prison for 85% of the 180-months.



   J).       INMATES CURRENT AGE: 48-years old (DOB: April 10,1972)


      K). INMATE RELEASE PLANS: Dalia Valencia will live with husband Mr.
Jeffrey Scott Krantz at 740 Draco PT, El Paso Texas, 79907, on Mr. Krantz owned
property. Mr. Krantz and children are eager to support her financially, provide
housing and medical care. At the age of 48, Dalia Valencia is capable of maintaining
employment. Ms. Valencia is willing to assist her husband and children up on
release.
   Dalia Valencia is capable and desires to work upon her release and has been
offered a position in Craze Culture, LLC. DBA owned by Mr. Charlie Navar in El
Paso, TX. Ms. Valencia has been highly recommended and possess the ability and
desire to maintain employment up on her release. See. Letter From Charlie Navar.
Attachment F.
  Dalia Valencia will not pose an economic weight to the community, as she has
been offered employment upon her release.


L).         WHETHER RELEASE WOULD MINIMIZE THE SEVERiTY OF THE
OFFENSE: Dalia Valencia has been in prison for 5-years on the instant offense; her
prior record reflects absolutely clean prison record; Prior to this offense there is no
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 criminal record of any other arrests or convictions.
 Ms. Valencia understands that releasing her from prison will not minimize the
severity of the offense committed, however, Mr. Valencia underlines that she is
minimal participant in this case, and that she aided her siblings Samuel and
Emmanuel Gurrola while guilty of love and misplace of loyalty towards her family
members. Ms. Valencia has served a substantial portion of her 180-month sentence
and has paid to the community for her wrongful actions and bad decisions.
 Ms. Valencia did not intend the ultimate results of these crimes be committed. Ms.
Valencia has been in prison for more than sufficient time to satisfy the purpose of
sentencing and punishment.


 M).     FACTORS REGARDING RISK OF DANGER: Dalia Valencia's release
will not pose a danger to the safety of any other person
                                                          or the community. Dalia
Valencia is a 48-year-old mature woman, who is passive and have never had any
issues with the law until she was charged with this offense. Her crime does not reflect
that she had substantial participation in the crime, contrary, her participation was
minimal. Fler release will not jeopardize the life of others. Upon release, at the age
of 48, Ms. Valencia does not pose any risk of danger to the society or threat to
public safety. Her exemplary record of participation in self-help vocational and
educational programs while in prison demonstrate her truly desire to rehabilitate and
realistic plans up on release.



               V.   "MS. VALENCIA'S REMARK"


Today, after near 5-years of incarceration, I Dalia Valencia humbly would like to
express what has been my experience based on the circumstances of what took place
in 2015 at the time of my arrest. I, Dalia Valencia, urge that the passing of near 5-
years has done little to dim the memory or significance of my acts. For 5-years of my
life I have carried a level of remorse and regret for causing my children and loved
ones the shame of my actions. It sickens me to look back knowing that I cannot
change my pass, however, I sincerely desire to cure as much as possible by



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 demonstrating that I have changed. My life has been dramatically and eternally
 altered by my previous decisions.
I cannot ask for compassion for obvious reasons, because sometimes even I refrain
to grant myself such a significant gesture considering the significance of my offense.
However, it is worth exposing that for the past 5-years of my life I have made plans
and have waited for that day in which I can give back what I took from the
community, to demonstrate how harsh things have been for me as a mother of three
children, and how much life has changed me through all this years.
  Now things are very different, at the age of 48-years, despite the pain I have caused
to my children, my children love me and are fully supportive even when I face near
one-and-half decade prison term. Now I walk in the hands of Christ and proudly
dedicate myself to help others in need, my transition is in good faith and has provide
me the opportunity of servitude and opportunity to change my life.
I fully agree that forgiveness is a significant gesture, and only comes to those who
truly seek change. Through this petition, I present my desire to humbly
                                                                             expose my
transition in life, as I am no longer immature. For 5-year of my life my behavior
while incarcerated represents my desire to rehabilitate. My life has been dramatically
and eternally altered by my decision to become a follower ofJesus Christ. For many
years I have demonstrated to be a woman of honor, a consistent leader among the
Christian Church in prison. I believe in God, and indeed in rehabilitation of not
only the soul by the mind.
 I will not ask this court for full release from custody, because I fully understand that
such a thing is simply unrealistic, however, I propose to be maintained in probation
for the rest of what is left of my life.
 I humbly ask for mercy in the form being release on home confinement and/or
adjustment of my sentence or transferring my sentence from 180-months of physical
custody to especial probation so I can further my vision and see it to development.
 I pray that this honorable court hear me and provide relief in the form of a less
harsh punishment. I don't what to spend more time away from my children behind
walls, I am a woman of honor and as such, humbly pray not to be stripped from the



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benefit of being a wife, mother as a free person, surrounded by my loved ones.
Please hear my prayers and exercise compassion.



WHEREFORE, Dalia Valencia, respectfully pray that this honorable court find
worthy of its mercy and grace and grant her relief in the form of compelling the
prison warden at Carswell Federal Medical Center to Release her on Home
Confinement or this honorable court transforming her physical custody to special
probation custody.


Executed and Signed   thisday of IL___, 2020


                                                          Respectfully Submitted




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                CERTIFICATE OF SERVICE
 I, Dalia Valencia, hereby certify under penalty of perjury, that on this
April 20, 2020, I placed a copy of the foregoing Motion for Reduction of
Sentence in a Mailbox at the Carlswell Federal Medical Center affixed
and with sufficient postage. A copy of the same was served to the United
States Attorney's office for the Western District of Texas.




                                   Respectfully Su


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     Pro se liuigant                    Dalia Valencia
                                        Reg No. 59005-380
                                        FEDERAL MEDICAL CENTER
                                        P.O. Box 27137
                                        FORT WORTH, TX 76127




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